                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                      3:04cr213


       UNITED STATES OF AMERICA          )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
      ANTONIO O’NEILL BENNETT            )
________________________________________ )


       THIS MATTER is before the Court upon oral motion of the defendant for a continuance

of the sentencing hearing in this matter from July 11, 2005.

       For the reasons stated in open court, the Court finds that the defendant has sufficient cause

for a continuance in this matter.

       IT IS THEREFORE ORDERED that the sentencing hearing in the above captioned case

be continued to a date to be announced by a separate notice.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.




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                         Signed: July 11, 2005




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